Case 1:13-cv-01053-RCL Document 244 Filed 11/02/22 Page 1 of1

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

FAIRHOLME FUNDS, INC., et al.,

 

 

)
)
vs. ) Civil No; 13-CV-1053 (RCL)
)
FEDERAL HOUSING FINANCE AGENCY, etal.,  )
1 )
In re: Fannie Mae/Freddie Mac Senior Preferred Civil No.: 13-MC-1288 (RCL)

Stock Purchase Agreement Class Action Litigations

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